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FoR THE WESTERN DISTRICT oF TENNESSEE s
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BETTY ANN LEWIS W.o. orr rn. isaacs-nis
Plaintiff,

vs. Case No.: 2:04-2827-BBD~dkv

LIFE INSURANCE COMPANY OF

NoRTH AMERICA1
Defendant.

 

ORDER CONTINUING
DEADLINES UNDER SCHEDULING ORDER

 

lt appearing to this Court that defendant, Life Insurance Company of North America, and
plaintiff, Betty Ann Lewis, should be afforded an additional amount of` time of thirty (30) days
within Which to file motions on the merits, up to and including July l5, 2005. As a consequence,
the deadline to file responsive briefs shall be continued until August 14, 2005.

It is, therefore, ORDERED, that the deadlines for the filing of motions on the merits by
defendant, Life Insurance Company of North America, and plaintiff, Betty Ann Lewis, as well as
the responses thereto are continued. Motions on the merits shall be filed no later than July 15,

2005 and response briefs shall be filed no later than August 14, 2005.

7*“ our §
lt is so ORDERED this day of , 2005.

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1 The Defendant’s correct name is Life lnsurance Company of North America, and not CIGNA Group Insurance, s
Plaintiff suggests in her Complaint. Def`endant requests that its proper name be Substituted on all future filings

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:04-CV-02827 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

